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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------x

UNITED STATES OF AMERICA,                                 :        20-Cr-553 (SHS)

                   -v-                                    :        ORDER
ERIC DIAZ,                                                :

                             Defendant.                   :

-----------------------------------------------------------x

SIDNEY H. STEIN, U.S. District Judge.

        At the request of the parties, the bail application hearing will take place on October 22, 2020, at
2:30 p.m. via teleconference.

        All participants must identify themselves every time they speak, spell any proper names for the
court reporter, and take care not to interrupt or speak over one another. Finally, all of those accessing the
conference — whether in listen-only mode or otherwise — are reminded that recording or rebroadcasting of
the proceeding is prohibited by law.

         Counsel should adhere to the following rules and guidelines during the teleconference:

                    Each party should designate a single lawyer to speak on its behalf (including when
                    noting the appearances of other counsel on the telephone).

                    Counsel should use a landline whenever possible, should use a headset instead of a
                    speakerphone, and must mute themselves whenever they are not speaking to eliminate
                    background noise. In addition, counsel should not use voice-activated systems that do
                    not allow the user to know when someone else is trying to speak at the same time.

                    To facilitate an orderly teleconference and the creation of an accurate transcript, counsel
                    are required to identify themselves every time they speak. Counsel should spell any
                    proper names for the court reporter. Counsel should also take special care not to
                    interrupt or speak over one another.

                    If there is a beep or chime indicating that a new caller has joined while counsel is
                    speaking, counsel should pause to allow the Court to ascertain the identity of the new
                    participant and confirm that the court reporter has not been dropped from the call.




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         If possible, defense counsel shall discuss the attached Waiver of Right to be Present at
Criminal Proceeding with the defendant prior to the proceeding. If the defendant consents, and
is able to sign the form (either personally or, in accordance with Standing Order 20-MC-174 of
March 27, 2020, by defense counsel), defense counsel shall file the executed form at least 24
hours prior to the proceeding. In the event the defendant consents, but counsel is unable to
obtain or affix the defendant’s signature on the form, the Court will conduct an inquiry at the
outset of the proceeding to determine whether it is appropriate for the Court to add the
defendant’s signature to the form.

       To the extent that there are any documents relevant to the proceeding (e.g., proposed
orders or documents regarding restitution, forfeiture, or removal), counsel should submit them to
the Court (by email or on ECF, as appropriate) at least at least 24 hours prior to the
proceeding. To the extent any documents require the defendant’s signature, defense counsel
should endeavor to get them signed in advance of the proceeding as set forth above; if defense
counsel is unable to do so, the Court will conduct an inquiry during the proceeding to determine
whether it is appropriate for the Court to add the defendant’s signature.

       The parties shall call 888-273-3658 and use access code 7004275 to access the
teleconference.

Dated: New York, New York
       October 21, 2020




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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X
UNITED STATES OF AMERICA
                                                                            WAIVER OF RIGHT TO BE PRESENT
                               -v-                                          AT CRIMINAL PROCEEDING
                                       ,                                      -CR-   ( )( )
                                           Defendant.
-----------------------------------------------------------------X

Check Proceeding that Applies

____      Entry of Plea of Guilty

          I am aware that I have been charged with violations of federal law. I have consulted with my
          attorney about those charges. I have decided that I wish to enter a plea of guilty to certain
          charges. I understand I have a right to appear before a judge in a courtroom in the Southern
          District of New York to enter my plea of guilty and to have my attorney beside me as I do. I am
          also aware that the public health emergency created by the COVID-19 pandemic has interfered
          with travel and restricted access to the federal courthouse. I have discussed these issues with my
          attorney. By signing this document, I wish to advise the court that I willingly give up my right to
          appear in person before the judge to enter a plea of guilty. By signing this document, I also wish
          to advise the court that I willingly give up any right I might have to have my attorney next to me as
          I enter my plea so long as the following conditions are met. I want my attorney to be able to
          participate in the proceeding and to be able to speak on my behalf during the proceeding. I also
          want the ability to speak privately with my attorney at any time during the proceeding if I wish to
          do so.



Date:___________               _________________________                 ____________________________
                               Print Name                                Signature of Defendant



____      Sentence

          I understand that I have a right to appear before a judge in a courtroom in the Southern District of
          New York at the time of my sentence and to speak directly in that courtroom to the judge who
          will sentence me. I am also aware that the public health emergency created by the COVID-19
          pandemic has interfered with travel and restricted access to the federal courthouse. I do not wish
          to wait until the end of this emergency to be sentenced. I have discussed these issues with my
          attorney and willingly give up my right to be present, at the time my sentence is imposed, in the
          courtroom with my attorney and the judge who will impose that sentence. By signing this
          document, I wish to advise the court that I willingly give up my right to appear in a courtroom in
          the Southern District of New York for my sentencing proceeding as well as my right to have my
          attorney next to me at the time of sentencing on the following conditions. I want my attorney to
          be able to participate in the proceeding and to be able to speak on my behalf at the proceeding.
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        I also want the ability to speak privately with my attorney at any time during the proceeding if I
        wish to do so.


Date:__________         _________________________                ____________________________
                        Print Name                               Signature of Defendant

I hereby affirm that I am aware of my obligation to discuss with my client the charges against my client,
my client’s rights to attend and participate in the criminal proceedings encompassed by this waiver, and
this waiver and consent form. I affirm that my client knowingly and voluntarily consents to the
proceedings being held with my client and me both participating remotely.


Date:__________         __________________________               _____________________________
                        Print Name                               Signature of Defense Counsel



Addendum for a defendant who requires services of an interpreter:

I used the services of an interpreter to discuss these issues with the defendant. The interpreter also
translated this document, in its entirety, to the defendant before the defendant signed it. The
interpreter’s name is: _______________________.


Date:_____________              ________________________________
                                Signature of Defense Counsel




Accepted:       ________________________
                Signature of Judge
                New York, New York
                Date:___________________




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